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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE

                                               )
In re:                                         )   Chapter 11
                                               )
CARESTREAM HEALTH, INC.,                       )   Case No. 22-10778 (___)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
CARESTREAM HEALTH ACQUISITION, LLC,            )   Case No. 22-10779 (___)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
CARESTREAM HEALTH CANADA                       )   Case No. 22-10780 (___)
HOLDINGS, INC.,                                )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
CARESTREAM HEALTH HOLDINGS, INC.,              )   Case No. 22-10781 (___)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
CARESTREAM HEALTH INTERNATIONAL                )   Case No. 22-10782 (___)
HOLDINGS, INC.,                                )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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                                                                   )
In re:                                                             )   Chapter 11
                                                                   )
CARESTREAM HEALTH INTERNATIONAL                                    )   Case No. 22-10783 (___)
MANAGEMENT COMPANY, INC.,                                          )
                                                                   )
                          Debtor.                                  )
                                                                   )
Tax I.D. No. XX-XXXXXXX                                            )
                                                                   )
In re:                                                             )   Chapter 11
                                                                   )
CARESTREAM HEALTH PUERTO RICO, LLC,                                )   Case No. 22-10784 (___)
                                                                   )
                          Debtor.                                  )
                                                                   )
Tax I.D. No. XX-XXXXXXX                                            )
                                                                   )
In re:                                                             )   Chapter 11
                                                                   )
CARESTREAM HEALTH WORLD                                            )   Case No. 22-10785 (___)
HOLDINGS, LLC,                                                     )
               Debtor.                                             )
                                                                   )
Tax I.D. No. XX-XXXXXXX                                            )
                                                                   )
In re:                                                             )   Chapter 11
                                                                   )
LUMISYS HOLDING CO.,                                               )   Case No. 22-10786 (___)
                                                                   )
                          Debtor.                                  )
                                                                   )
Tax I.D. No. XX-XXXXXXX                                            )

                               DEBTORS’ MOTION
                             FOR ENTRY OF AN ORDER
                    (I) DIRECTING JOINT ADMINISTRATION OF
               CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion: 1


1
    A detailed description of the Debtors and their businesses, including the facts and circumstances giving rise to
    the Debtors’ chapter 11 cases, is set forth in the Declaration of Scott H. Rosa, Chief Financial Officer of
    Carestream Health, Inc., in Support of Chapter 11 Petitions and First Day Motions


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                                               Relief Requested

        1.       The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Order”), (a) directing procedural consolidation and joint administration of these

chapter 11 cases; and (b) granting related relief. The Debtors request that the Court (as defined

herein) maintain one file and one docket for all of the jointly-administered cases under the case

of Carestream Health, Inc. and that the cases be administered under a consolidated caption,

as follows:

                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                              )
In re:                                        ) Chapter 11
                                              )
                                 1
CARESTREAM HEALTH, INC., et al.,              ) Case No. 22-10778 (___)
                                              )
                  Debtors.                    ) (Jointly Administered)
                                              )
___________________________________________________
1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333); Carestream Health
    Canada Holdings, Inc. (7700); Carestream Health Holdings, Inc. (7822); Carestream Health International
    Holdings, Inc. (5771); Carestream Health International Management Company, Inc. (0532); Carestream Health
    Puerto Rico, LLC (8359); Carestream Health World Holdings, LLC (1662); and Lumisys Holding Co. (3232).
    The location of the Debtors’ service address is: 150 Verona Street, Rochester, New York 14608.

        2.       The Debtors further request that the Court order that the foregoing caption

satisfies the requirements set forth in section 342(c)(1) of the Bankruptcy Code, as

defined below.




    (the “First Day Declaration”), filed contemporaneously herewith. Capitalized terms used but not defined in this
    motion have the meanings ascribed to them in the First Day Declaration or in the contemporaneously filed
    Joint Prepackaged Chapter 11 Plan of Reorganization of Carestream Health, Inc. and Its Debtor Affiliates
    (as amended, supplemented, or otherwise modified from time to time, the “Plan”), as applicable.



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       3.      The Debtors also request that a docket entry, substantially similar to the

following, be entered on the docket of each of the Debtors other than Carestream Health, Inc. to

reflect the joint administration of these chapter 11 cases:

               An order has been entered in accordance with Rule 1015(b) of the
               Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
               Local Rules of Bankruptcy Practice and Procedure of the United
               States Bankruptcy Court for the District of Delaware, directing
               joint administration for procedural purposes only of the chapter 11
               cases of: Carestream Health, Inc., Case No. 22-10778 (___);
               Carestream Health Acquisition, LLC, Case No. 22-10779 (___);
               Carestream Health Canada Holdings, Inc., Case No. 22-10780
               (___); Carestream Health Holdings, Inc., Case No. 22-10781
               (___); Carestream Health International Holdings, Inc.,
               Case No. 22-10782 (___); Carestream Health International
               Management Company, Inc., Case No. 22-10783 (___);
               Carestream Health Puerto Rico, LLC, Case No. 22-10784 (___);
               Carestream Health World Holdings, LLC, Case No. 22-10785
               (___); Lumisys Holding Co., Case No. 22-10786 (___). The
               docket in Case No. 22-10778 should be consulted for all matters
               affecting this case.

                                     Jurisdiction and Venue

       4.      The United States Bankruptcy Court for the District of Delaware (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012. The Debtors confirm their consent, pursuant to rule 9013-1(f) of the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), to the entry of a final order by the Court in connection

with this motion to the extent that it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments in connection herewith consistent with Article III

of the United States Constitution.

       5.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




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       6.      The statutory bases for the relief requested herein are sections 105(a) and

342(c)(1) of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”),

rules 1015(b) and 2002 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

and Local Rules 1015-1, 2002-1, and 9013-1.

                                          Background

       7.      The Debtors, together with their non-Debtor affiliates (collectively, “Carestream”

or the “Company”), are a leading provider of medical imaging and non-destructive testing

products with over 100 years of industry experience. The Company is a partner of choice to

approximately 8,000 direct customers and approximately 900 dealers in more than 130 countries.

Its products are used by prominent health systems, hospitals, imaging centers, specialty practices

and industrial companies worldwide.      Headquartered in Rochester, New York, Carestream

employs a global workforce of approximately 3,410 employees with approximately 180

contractors.

       8.      Carestream, like many businesses, faced significant headwinds in 2020,

principally as a result of changing product and customer trends and the global COVID-19

pandemic, which, in light of the Debtors’ capital structure, placed substantial strain on the

Debtors’ businesses. To alleviate the strain, the Debtors executed a voluntary amend-and-extend

transaction in early 2020 that extended the maturities of their first lien revolver and term loan

and second lien term loan debt. The amend-and-extend transaction provided the Debtors with

time to meaningfully examine various strategic alternatives, including sale transactions and debt-

for-equity exchanges to deleverage the Company.

       9.      Ultimately, the Debtors determined that a substantial deleveraging combined with

new capital investment was the best path forward for their business.          To implement the

foregoing, the Debtors negotiated, and ultimately agreed, with a majority of their prepetition


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secured lenders and their equity sponsor on the terms of a comprehensive financial restructuring.

The terms of the proposed restructuring are memorialized in a restructuring support agreement

(the “RSA”) that serves as the foundation of the Debtors’ prepackaged Plan. Under the RSA, the

Debtors will eliminate approximately $470 million of prepetition funded debt and raise up to $75

million of new equity capital, while also leaving general unsecured claims unimpaired. As of

August 23, 2022 (the “Petition Date”), the Debtors have fully solicited their Plan, which was

accepted by all creditor classes entitled to vote, including lenders collectively holding

approximately 73% of the Debtors’ prepetition first lien revolver and term loan debt and

approximately 98% of the Debtors’ prepetition second lien term loan debt.

        10.    On the Petition Date, each of the Debtors filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses and managing

their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code.    No request for the appointment of a trustee or examiner has been made in these

chapter 11 cases and no official committees have been appointed or designated.

                                         Basis for Relief

        11.    Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The nine Debtor entities that

commenced chapter 11 cases are “affiliates” as that term is defined in section 101(2) of the

Bankruptcy Code. Accordingly, the Bankruptcy Code and Bankruptcy Rules authorize the Court

to grant the relief requested herein.




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        12.      Further, Local Rule 1015-1 provides additional authority for the Court to order

joint administration of these chapter 11 cases:

                 An order of joint administration may be entered, without notice
                 and an opportunity for hearing, upon the filing of a motion for joint
                 administration pursuant to Fed. R. Bankr. P. 1015, supported by an
                 affidavit, declaration, or verification, which establishes that the
                 joint administration of two or more cases pending in the Court
                 under title 11 is warranted and will ease the administrative burden
                 for the Court and the parties. An order of joint administration
                 entered in accordance with this Local Rule may be reconsidered
                 upon motion of any party in interest at any time. An order of joint
                 administration under this Local Rule is for procedural purposes
                 only and shall not cause a “substantive” consolidation of the
                 respective debtors’ estates.

Del. Bankr. L.R. 1015-1.

        13.      Joint administration is generally uncontroversial, and courts in this jurisdiction

routinely     order     joint    administration       in     cases    with     multiple      related     debtors.

See, e.g., In re Riverbed Tech., Inc., No. 21-11503 (CTG) (Bankr. D. Del. Nov. 18, 2021)

(directing joint administration of chapter 11 cases); In re HighPoint Res. Corp., No. 21-10565

(CSS) (Bankr. D. Del. Mar. 16, 2021) (same); In re Town Sports Int’l, LLC, No. 20-12168 (CSS)

(Bankr. D. Del. Sep. 16, 2020) (same); In re Extraction Oil & Gas, Inc., No. 20-11548 (CSS)

(Bankr. D. Del. June 16, 2020) (same); In re APC Auto. Techs. Intermediate Holdings, LLC,

No. 20-11466 (CSS) (Bankr. D. Del. June 4, 2020) (same); In re Akorn, Inc., No. 20-11177

(KBO) (Bankr. D. Del. May 22, 2020) (same). 2

        14.      Given the integrated nature of the Debtors’ operations, and that each of the

Debtors is liable for the Debtors’ funded debt, joint administration of these chapter 11 cases will

provide significant administrative convenience without harming the substantive rights of any


2
    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
    Copies of these orders are available upon request to the Debtors’ proposed counsel.



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party in interest. Many of the motions, hearings, and orders in these chapter 11 cases will affect

each Debtor entity. The entry of an order directing joint administration of these chapter 11 cases

will reduce fees and costs by avoiding duplicative filings and objections. Joint administration

will also allow the United States Trustee for the District of Delaware (the “U.S. Trustee”) and all

parties in interest to monitor these chapter 11 cases with greater ease and efficiency.

        15.    Moreover, joint administration will not adversely affect the Debtors’ respective

constituencies. This motion seeks only administrative, not substantive, consolidation of the

Debtors’ estates. Parties in interest will not be harmed by the relief requested; instead, parties in

interest will benefit from the cost reductions associated with the joint administration of these

chapter 11 cases.     Accordingly, the Debtors submit that the joint administration of these

chapter 11 cases is in the best interests of their estates, their creditors, and all other parties

in interest.

                                               Notice

        16.    The Debtors will provide notice of this motion to the following parties or their

respective counsel: (a) the U.S. Trustee for the District of Delaware; (b) the holders of the thirty

largest unsecured claims against the Debtors (on a consolidated basis); (c) counsel to the DIP

Agent; (d) counsel to the First Lien Agent and the Second Lien Agent; (e) counsel to the

Crossover Group; (f) the office of the attorney general for each of the states in which the Debtors

operate; (g) the United States Attorney’s Office for the District of Delaware; (h) the Internal

Revenue Service; and (i) any party that has requested notice pursuant to Bankruptcy Rule 2002.

As this motion is seeking “first day” relief, within two business days of the hearing on this

motion, the Debtors will serve copies of this motion and any order entered in respect to this

motion as required by Local Rule 9013-1(m). The Debtors submit that, in light of the nature of

the relief requested, no other or further notice need be given.


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                                       No Prior Request

       17.     No prior request for the relief sought in this motion has been made to this or any

other court.

                              [Remainder of page intentionally left blank]




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          WHEREFORE, the Debtors respectfully request entry of the Order, substantially in the

  form attached hereto as Exhibit A (a) granting the relief requested herein and (b) granting such

  other relief as is just and proper.

Dated: August 23, 2022                  /s/ Laura Davis Jones
Wilmington, Delaware                    Laura Davis Jones (DE Bar No. 2436)
                                        Timothy P. Cairns (DE Bar No. 4228)
                                        Edward Corma (DE Bar No. 6718)
                                        PACHULSKI STANG ZIEHL & JONES LLP
                                        919 North Market Street, 17th Floor
                                        P.O. Box 8705
                                        Wilmington, Delaware 19801
                                        Telephone:     (302) 652-4100
                                        Facsimile:     (302) 652-4400
                                        Email:         ljones@pszjlaw.com
                                                       tcairns@pszjlaw.com
                                                       ecorma@pszjlaw.com
                                        -and-

                                        Patrick J. Nash, Jr., P.C. (pro hac vice pending)
                                        Tricia Schwallier Collins (pro hac vice pending)
                                        Yusuf U. Salloum (pro hac vice pending)
                                        KIRKLAND & ELLIS LLP
                                        KIRKLAND & ELLIS INTERNATIONAL LLP
                                        300 North LaSalle Street
                                        Chicago, Illinois 60654
                                        Telephone:      (312) 862-2000
                                        Facsimile:      (312) 862-2200
                                        Email:          patrick.nash@kirkland.com
                                                        tricia.schwallier@kirkland.com
                                                        yusuf.salloum@kirkland.com
                                        -and-

                                        Nicole L. Greenblatt, P.C. (pro hac vice pending)
                                        Rachael M. Bentley (pro hac vice pending)
                                        KIRKLAND & ELLIS LLP
                                        KIRKLAND & ELLIS INTERNATIONAL LLP
                                        601 Lexington Avenue
                                        New York, New York 10022
                                        Telephone:     (212) 446-4800
                                        Facsimile:     (212) 446-4900
                                        Email:         nicole.greenblatt@kirkland.com
                                        Email:         rachael.bentley@kirkland.com

                                        Proposed Co-Counsel for the Debtors and Debtors in Possession
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                       Exhibit A

                    Proposed Order
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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE

                                                )   Chapter 11
In re:                                          )
                                                )   Case No. 22-10778 (___)
CARESTREAM HEALTH, INC.,                        )
                                                )
                    Debtor.                     )
                                                )
Tax I.D. No. XX-XXXXXXX                         )
                                                )   Chapter 11
In re:                                          )
                                                )   Case No. 22-10779 (___)
CARESTREAM HEALTH ACQUISITION, LLC,             )
                                                )
                    Debtor.                     )
                                                )
Tax I.D. No. XX-XXXXXXX                         )
                                                )   Chapter 11
In re:                                          )
                                                )   Case No. 22-10780 (___)
CARESTREAM HEALTH CANADA                        )
HOLDINGS, INC.,                                 )
                                                )
                    Debtor.                     )
                                                )
Tax I.D. No. XX-XXXXXXX                         )
                                                )   Chapter 11
In re:                                          )
                                                )   Case No. 22-10781 (___)
CARESTREAM HEALTH HOLDINGS, INC.,               )
                                                )
                    Debtor.                     )
                                                )
Tax I.D. No. XX-XXXXXXX                         )
                                                )   Chapter 11
In re:                                          )
                                                )   Case No. 22-10782 (___)
CARESTREAM HEALTH INTERNATIONAL                 )
HOLDINGS, INC.,                                 )
                                                )
                    Debtor.                     )
                                                )
Tax I.D. No. XX-XXXXXXX                         )
                Case 22-10778-JKS             Doc 2      Filed 08/23/22        Page 13 of 16




                                                                  )   Chapter 11
In re:                                                            )
                                                                  )   Case No. 22-10783 (___)
CARESTREAM HEALTH INTERNATIONAL                                   )
MANAGEMENT COMPANY, INC.,                                         )
                                                                  )
                          Debtor.                                 )
                                                                  )
Tax I.D. No. XX-XXXXXXX                                           )
                                                                  )   Chapter 11
In re:                                                            )
                                                                  )   Case No. 22-10784 (___)
CARESTREAM HEALTH PUERTO RICO, LLC,                               )
                                                                  )
                          Debtor.                                 )
                                                                  )
Tax I.D. No. XX-XXXXXXX                                           )
                                                                  )   Chapter 11
In re:                                                            )
                                                                  )   Case No. 22-10785 (___)
CARESTREAM HEALTH WORLD                                           )
HOLDINGS, LLC,                                                    )
               Debtor.                                            )
                                                                  )
Tax I.D. No. XX-XXXXXXX                                           )
                                                                  )   Chapter 11
In re:                                                            )
                                                                  )   Case No. 22-10786 (___)
LUMISYS HOLDING CO.,                                              )
                                                                  )
                          Debtor.                                 )
                                                                  )
Tax I.D. No. XX-XXXXXXX                                           )   Re: Docket No.

                 ORDER (I) DIRECTING JOINT ADMINISTRATION
            OF CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

         Upon the motion (the “Motion”) 1 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”), (a) authorizing the

Debtors to direct the joint administration of the Debtors’ chapter 11 cases for procedural

purposes only and (b) granting related relief, all as more fully set forth in the Motion; and upon


1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


                                                        2
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the First Day Declaration; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having

found that this Court may enter a final order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other

notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court

(the “Hearing”); and this Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted as set forth in this Order.

       2.      The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by the Court under Case No. 22-10778 (___).

       3.      The caption of the jointly administered cases should read as follows:




                                                 3
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                              )
In re:                                        ) Chapter 11
                                              )
CARESTREAM HEALTH, INC., et al., 1
                                              ) Case No. 22-10778 (___)
                                              )
                  Debtors.                    ) (Jointly Administered)
                                              )
___________________________________________________
1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333); Carestream Health
    Canada Holdings, Inc. (7700); Carestream Health Holdings, Inc. (7822); Carestream Health International
    Holdings, Inc. (5771); Carestream Health International Management Company, Inc. (0532); Carestream Health
    Puerto Rico, LLC (8359); Carestream Health World Holdings, LLC (1662); and Lumisys Holding Co. (3232).
    The location of the Debtors’ service address is: 150 Verona Street, Rochester, New York 14608.

        4.       The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.

        5.       A docket entry, substantially similar to the following, shall be entered on the

docket of each of the Debtors other than Carestream Health, Inc. to reflect the joint

administration of these chapter 11 cases:

                 An order has been entered in accordance with Rule 1015(b) of the
                 Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
                 Local Rules of Bankruptcy Practice and Procedure of the United
                 States Bankruptcy Court for the District of Delaware, directing
                 joint administration for procedural purposes only of the chapter 11
                 cases of: Carestream Health, Inc., Case No. 22-10778 (___);
                 Carestream Health Acquisition, LLC, Case No. 22-10779 (___);
                 Carestream Health Canada Holdings, Inc., Case No. 22-10780
                 (___); Carestream Health Holdings, Inc., Case No. 22-10781
                 (___); Carestream Health International Holdings, Inc.,
                 Case No. 22-10782 (___); Carestream Health International
                 Management Company, Inc., Case No. 22-10783 (___);
                 Carestream Health Puerto Rico, LLC, Case No. 22-10784 (___);
                 Carestream Health World Holdings, LLC, Case No. 22-10785
                 (___); Lumisys Holding Co., Case No. 22-10786 (___). The
                 docket in Case No. 22-10778 should be consulted for all matters
                 affecting this case.




                                                         4
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       6.      The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the District of Delaware shall keep, one consolidated docket, one file, and one consolidated

service list for these chapter 11 cases.

       7.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an order

substantively consolidating their respective cases.

       8.      Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of the Local Rules are satisfied by such notice.

       9.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       10.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




                                                   5
